DocuSign Envelope ID: 8A5D3F55-713E-4B03-BA18-82A0F2BFF69A
                  Case 5:20-cv-00755 Document 1 Filed 04/13/20 Page 1 of 36 Page ID #:1




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        10
        11                               UNITED STATES DISTRICT COURT FOR
        12
                                       THE CENTRAL DISTRICT OF CALIFORNIA
        13
        14                                               EASTERN DIVISION
        15    WENDY GISH, an individual;                        Case No.: ____________________
        16    PATRICK SCALES, an individual,
              JAMES DEAN MOFFATT, an                            VERIFIED COMPLAINT FOR
        17                                                      DECLARATORY AND
              individual; and BRENDA WOOD, an                   INJUNCTIVE RELIEF
        18    individual,
        19                 Plaintiffs,
                            v.
        20
        21    GAVIN NEWSOM, in his official
              capacity as the Governor of California;
        22    XAVIER BECERRA, in his official
        23    capacity as the Attorney General of
              California; ERIN GUSTAFSON, in
        24    her official capacity as the San
        25    Bernardino County Acting Public
        26    Health Officer; JOHN MCMAHON,
              in his official capacity as the San
        27    Bernardino County Sheriff; ROBERT
        28    A. LOVINGGOOD, in his official

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              Verified Complaint                                                             Case No.
DocuSign Envelope ID: 8A5D3F55-713E-4B03-BA18-82A0F2BFF69A
                  Case 5:20-cv-00755 Document 1 Filed 04/13/20 Page 2 of 36 Page ID #:2




         1    capacity as a San Bernardino County
              Supervisor; JANICE
         2    RUTHERFORD, in her official
         3    capacity as a San Bernardino County
              Supervisor; DAWN ROWE, in her
         4    official capacity as a San Bernardino
         5    County Supervisor; CURT HAGMAN,
         6    in his official capacity as a San
              Bernardino County Supervisor; JOSIE
         7    GONZALES, in his official capacity as
         8    a San Bernardino County Supervisor;
              CAMERON KAISER, in his official
         9    capacity as the Riverside County Public
        10    Health Officer; GEORGE JOHNSON,
              in his official capacity as the Riverside
        11
              County Executive Officer and Director
        12    of Emergency Services; CHAD
        13    BIANCO, in his official capacity as a
              Riverside County Sheriff; KEVIN
        14    JEFFRIES, in his official capacity as a
        15    Riverside County Supervisor; KAREN
              SPIEGEL, in her official capacity as a
        16
              Riverside County Supervisor; CHUCK
        17    WASHINGTON, in his official
        18    capacity as a Riverside County
              Supervisor; V. MANUEL PEREZ, in
        19    his official capacity as a Riverside
        20    County Supervisor; and JEFF
              HEWITT, in his official capacity as a
        21    Riverside County Supervisor,
        22
                               Defendants.
        23
        24
                       Liberty must at all hazards be supported. We have a right to it, derived from our
        25
              Maker. But if we had not, our fathers have earned and bought it for us, at the expense of
        26
              their ease, their estates, their pleasure, and their blood.
        27
                                                                            – John Adams, 1765
        28

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              Verified Complaint                                                                 Case No.
DocuSign Envelope ID: 8A5D3F55-713E-4B03-BA18-82A0F2BFF69A
                  Case 5:20-cv-00755 Document 1 Filed 04/13/20 Page 3 of 36 Page ID #:3




         1             NOW COME the above-named Plaintiffs Wendy Gish, Patrick Scales, James
         2    Dean Moffatt, and Brenda Wood, by and through their attorneys, Dhillon Law Group,
         3    Inc., as and for claims against the above-named Defendants Gavin Newsom, in his
         4    official capacity as Governor of California; Xavier Becerra, in his official capacity as
         5    Attorney General of California; Erin Gustafson, in her official capacity as the San
         6    Bernardino County Acting Public Health Officer; John McMahon, in his official
         7    capacity as the San Bernardino County Sheriff; Robert A. Lovinggood, in his official
         8    capacity as a San Bernardino County Supervisor; Janice Rutherford, in her official
         9    capacity as a San Bernardino County Supervisor; Dawn Rowe, in her official capacity
        10    as a San Bernardino County Supervisor; Curt Hagman, in his official capacity as a San
        11    Bernardino County Supervisor; Josie Gonzales, in his official capacity as a San
        12    Bernardino County Supervisor; Cameron Kaiser, in his official capacity as the
        13    Riverside County Public Health Officer; George Johnson, in his official capacity as the
        14    Riverside County Executive Officer and Director of Emergency Services; Chad Bianco,
        15    in his official capacity as the Riverside County Sheriff; Kevin Jeffries, in his official
        16    capacity as a Riverside County Supervisor; Karen Spiegel, in her official capacity as a
        17    Riverside County Supervisor; Chuck Washington, in his official capacity as a Riverside
        18    County Supervisor; V. Manuel Perez, in his official capacity as a Riverside County
        19    Supervisor; and Jeff Hewitt, in his official capacity as a Riverside County Supervisor,
        20    allege and show the Court as follows (this “Complaint”).
        21                                              NATURE OF ACTION
        22             1.      Defendants, in a gross abuse of their power, have seized the Coronavirus
        23    pandemic to expand their authority by unprecedented lengths, depriving Plaintiffs and
        24    all other residents of California of fundamental rights protected by the U.S. and
        25    California Constitutions, including freedom of religion, speech, and assembly, and due
        26    process and equal protection under the law. It is this Court’s duty to defend these
        27    constitutional principles, by safeguarding the many rights and liberties of Californians
        28    that Defendants so brazenly violate.

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              Verified Complaint                                                                Case No.
DocuSign Envelope ID: 8A5D3F55-713E-4B03-BA18-82A0F2BFF69A
                  Case 5:20-cv-00755 Document 1 Filed 04/13/20 Page 4 of 36 Page ID #:4




         1             2.      This Action presents facial and as-applied challenges to the Governor of
         2    California’s March 19, 2020 Executive Order N-33-20 (the “State Order”) attached here
         3    as Exhibit 1; the April 7, 2020 “Order of the Health Officer of the County of San
         4    Bernardino for the Control of COVID-19” (the “San Bernardino Order”) attached here
         5    as Exhibit 2; and the April 6, 2020 “Amended Order of the Health Officer for the
         6    County of Riverside and of the County Executive Officer as Director of Emergency
         7    Services” (the “Riverside Order”) attached here as Exhibit 3, which violate the
         8    constitutional rights of Plaintiffs and the people of California. The State Order, San
         9    Bernardino Order, and Riverside Order may at times be referred to collectively as the
        10    “Orders” in this Complaint.1
        11             3.      The Orders and Defendants’ enforcement thereof violate (I) the Free
        12    Exercise Clause of the First Amendment; (II) the Establishment Clause of the First
        13    Amendment; (III) the Free Speech Clause of the First Amendment; (IV) the Freedom of
        14    Assembly Clause of the First Amendment; (V) the Vagueness Doctrine enshrined by
        15    Due Process of Clause of the Fourteenth Amendment; (VI) substantive rights protected
        16    by Due Process of Clause of the Fourteenth Amendment; (VII) the Equal Protection
        17    Clause of the Fourteenth Amendment; (VIII) California Constitution Article 1, Section
        18    1’s right to liberty; (IX) California Constitution Article 1, Section 2’s right to free
        19
        20
              1
        21     As of the date of this filing, the State Order, San Bernardino Order, and Riverside
              Order, respectively, may be accessed online at the following URLs:
        22
        23    State Order: https://covid19.ca.gov/img/Executive-Order-N-33-20.pdf;
        24    San Bernardino Order: http://wp.sbcounty.gov/dph/wp-
        25    content/uploads/sites/7/2020/04/SKM_C45820040714190.pdf;
        26
              Riverside Order:
        27    https://www.rivcoph.org/Portals/0/Documents/CoronaVirus/April/PHOrders/Riv-
        28    EOC_20200406_090004.pdf?ver=2020-04-06-102528-
              423&timestamp=1586193935186.
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              Verified Complaint                                                                 Case No.
DocuSign Envelope ID: 8A5D3F55-713E-4B03-BA18-82A0F2BFF69A
                  Case 5:20-cv-00755 Document 1 Filed 04/13/20 Page 5 of 36 Page ID #:5




         1    speech; (X) California Constitution Article 1, Section 3’s right to assemble freely; (XI)
         2    California Constitution Article 1, Section 4’s right free exercise and enjoyment of
         3    religion.
         4                                        JURISDICTION AND VENUE
         5             4.      This action arises under 42 U.S.C. § 1983 in relation to Defendants’
         6    deprivation of Plaintiffs’ constitutional rights to freedom of religion, speech, and
         7    assembly, due process, and equal protection rights under the First and Fourteenth
         8    Amendments to the U.S. Constitution. Accordingly, this Court has federal question
         9    jurisdiction under 28 U.S.C. §§ 1331 and 1343. This Court has authority to award the
        10    requested declaratory relief under 28 U.S.C. § 2201; the requested injunctive relief and
        11    damages under 28 U.S.C. § 1343(a); and attorneys’ fees and costs under 42 U.S.C. §
        12    1988.
        13             5.      The Central District of California is the appropriate venue for this action
        14    pursuant to 28 U.S.C. §§ 1391(b)(1) and (2) because it is the District in which
        15    Defendants maintain offices, exercise their authority in their official capacities, and will
        16    enforce the Orders; and it is the District in which substantially all of the events giving
        17    rise to the claims occurred.
        18                                                   PARTIES
        19             6.      Plaintiff Wendy Gish is a resident of San Bernardino County, California.
        20    She attends Shield of Faith Family Church located in Fontana, California. Gish is a
        21    strong believer in the scriptural command found in Hebrew 10:25: “Let us not neglect
        22    meeting together, as some have made a habit, but let us encourage one another, and all
        23    the more as you see the Day approaching.” In fulfillment of her sincerely held religious
        24    belief, Gish attends church twice a week, Sundays and Wednesday.
        25             7.      Plaintiff Patrick Scales is a resident of San Bernardino County, California.
        26    He is the head pastor of Shield of Faith Family Church located in Fontana, California.
        27    Scales believes that he must serve the needs of his church’s parishioners, especially
        28    right now in the midst of the COVID-19 crisis. James 5:14 commands believers that “Is

                                                               5
              Verified Complaint                                                                  Case No.
DocuSign Envelope ID: 8A5D3F55-713E-4B03-BA18-82A0F2BFF69A
                  Case 5:20-cv-00755 Document 1 Filed 04/13/20 Page 6 of 36 Page ID #:6




         1    any sick among you? Let him call for the elders of the church; and let them pray over
         2    him, anointing him with oil in the name of the Lord … .” Scales desires to keep Shield
         3    of Faith Family Church open to help deal with the spiritual and physical needs of its
         4    congregants. Scales believes that he can have in-person church services while making
         5    every effort to prevent contact between congregants by adhering to social distancing
         6    guidance, just as grocery stores, laundromats, and marijuana dispensaries are
         7    implementing to keep their customers safe. Congregants in the Shield of Faith Family
         8    Church are seated with family units at least six feet apart, and all worshippers wearing
         9    masks in the church.
        10             8.      Plaintiff James Dean Moffatt is a resident of Riverside County. Moffatt is
        11    the senior pastor at Church Unlimited located in Indio, California. Moffatt believes that
        12    scripture commands him as a pastor to lay hands on people and pray for them, this
        13    includes the sick. Moffatt also believes that he is required by scripture to baptize
        14    individuals, something that cannot be done at an online service.
        15             9.      Plaintiff Brenda Wood is a resident of Riverside County. Wood is the
        16    senior pastor at Word of Life Ministries International, Inc. located in Riverside,
        17    California. Wood desires to hold services in a manner that properly protects her
        18    parishioners so that its parishioners may follow Hebrews 10:25 and encourage one
        19    another during these troubling times of COVID-19. Wood believes that her parishioners
        20    need to connect with other people so as to give them hope and encouragement. Wood
        21    believes she can implement proper social distancing measures similar to those practiced
        22    by restaurants, auto mechanics, and abortion clinics. Wood also would like to offer
        23    drive-in services for parishioners.
        24             10.     Defendant Gavin Newsom is made a party to this Action in his official
        25    capacity as the Governor of California. The California Constitution vests the “supreme
        26    executive power of the State” in the Governor, who “shall see that the law is faithfully
        27    executed.” Cal. Const. Art. V, § 1. Governor Newsom signed the State Order.
        28

                                                             6
              Verified Complaint                                                                Case No.
DocuSign Envelope ID: 8A5D3F55-713E-4B03-BA18-82A0F2BFF69A
                  Case 5:20-cv-00755 Document 1 Filed 04/13/20 Page 7 of 36 Page ID #:7




         1             11.     Defendant Xavier Becerra is made a party to this Action in his official
         2    capacity as the Attorney General of California. Under California law he is the chief law
         3    enforcement officer with supervision over all sheriffs in the state. Cal. Const. Art. V, §
         4    13.
         5             12.     Defendant Erin Gustafson is made a party to this Action in her official
         6    capacity as the San Bernardino County Acting Public Health Officer. She signed the
         7    San Bernardino Order.
         8             13.     Defendant John Mahon is made a party to this Action in his official
         9    capacity as the San Bernardino County Sheriff. Under California law he has the
        10    responsibility to enforce the San Bernardino Order in San Bernardino County. See Cal.
        11    Gov’t. Code § 26601.
        12             14.     Defendant Robert A. Lovinggood is made a party to this Action in his
        13    official capacity as a member of the San Bernardino County Board of Supervisors,
        14    which exercises broad legislative, executive, and quasi-judicial authority under
        15    California law, including the supervision of the county sheriff and public health
        16    officials. See, e.g., Cal. Gov’t. Code § 25000, et seq.; Cal. Health & Safety Code §
        17    101000.
        18             15.     Defendant Janice Rutherford is made a party to this Action in her official
        19    capacity as a member of the San Bernardino County Board of Supervisors, which
        20    exercises broad legislative, executive, and quasi-judicial authority under California law,
        21    including the supervision of the county sheriff and public health officials. See, e.g., Cal.
        22    Gov’t. Code § 25000, et seq.; Cal. Health & Safety Code § 101000.
        23             16.     Defendant Dawn Rowe is made a party to this Action in her official
        24    capacity as a member of the San Bernardino County Board of Supervisors, which
        25    exercises broad legislative, executive, and quasi-judicial authority under California law,
        26    including the supervision of the county sheriff and public health officials. See, e.g., Cal.
        27    Gov’t. Code § 25000, et seq.; Cal. Health & Safety Code § 101000.
        28

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              Verified Complaint                                                                 Case No.
DocuSign Envelope ID: 8A5D3F55-713E-4B03-BA18-82A0F2BFF69A
                  Case 5:20-cv-00755 Document 1 Filed 04/13/20 Page 8 of 36 Page ID #:8




         1             17.     Defendant Curt Hagman is made a party to this Action in his official
         2    capacity as a member of the San Bernardino County Board of Supervisors, which
         3    exercises broad legislative, executive, and quasi-judicial authority under California law,
         4    including the supervision of the county sheriff and public health officials. See, e.g., Cal.
         5    Gov’t. Code § 25000, et seq.; Cal. Health & Safety Code § 101000.
         6             18.     Defendant Josie Gonzales is made a party to this Action in his official
         7    capacity as a member of the San Bernardino County Board of Supervisors, which
         8    exercises broad legislative, executive, and quasi-judicial authority under California law,
         9    including the supervision of the county sheriff and public health officials. See, e.g., Cal.
        10    Gov’t. Code § 25000, et seq.; Cal. Health & Safety Code § 101000.
        11             19.     Defendant Cameron Kaiser is made a party to this Action in his official
        12    capacity as the Riverside County Public Health Officer. He signed the Riverside Order
        13    on April 6, 2020.
        14             20.     Defendant George Johnson is made a party to this Action in his official
        15    capacity as the Riverside County Executive Officer and Director of Emergency
        16    Services. He also signed the Riverside Order on April 6, 2020.
        17             21.     Defendant Chad Bianco is made a party to this Action in his official
        18    capacity as the Riverside County Sheriff. Under California law he has the responsibility
        19    to enforce the Riverside Amend Order in Riverside County. See Cal. Gov’t. Code §
        20    26601.
        21             22.     Defendant Kevin Jeffries is made a party to this Action in his official
        22    capacity as a member of the Riverside County Board of Supervisors, which exercises
        23    broad legislative, executive, and quasi-judicial authority under California law, including
        24    the supervision of the county sheriff and public health officials. See, e.g., Cal. Gov’t.
        25    Code § 25000, et seq.; Cal. Health & Safety Code § 101000.
        26             23.     Defendant Karen Spiegel is made a party to this Action in her official
        27    capacity as a member of the Riverside County Board of Supervisors, which exercises
        28    broad legislative, executive, and quasi-judicial authority under California law, including

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              Verified Complaint                                                                  Case No.
DocuSign Envelope ID: 8A5D3F55-713E-4B03-BA18-82A0F2BFF69A
                  Case 5:20-cv-00755 Document 1 Filed 04/13/20 Page 9 of 36 Page ID #:9




         1    the supervision of the county sheriff and public health officials. See, e.g., Cal. Gov’t.
         2    Code § 25000, et seq.; Cal. Health & Safety Code § 101000.
         3             24.     Defendant Chuck Washington is made a party to this Action in his official
         4    capacity as a member of the Riverside County Board of Supervisors, which exercises
         5    broad legislative, executive, and quasi-judicial authority under California law, including
         6    the supervision of the county sheriff and public health officials. See, e.g., Cal. Gov’t.
         7    Code § 25000, et seq.; Cal. Health & Safety Code § 101000.
         8             25.     Defendant V. Manuel Perez is made a party to this Action in his official
         9    capacity as a member of the Riverside County Board of Supervisors, which exercises
        10    broad legislative, executive, and quasi-judicial authority under California law, including
        11    the supervision of the county sheriff and public health officials. See, e.g., Cal. Gov’t.
        12    Code § 25000, et seq.; Cal. Health & Safety Code § 101000.
        13             26.     Defendant Jeff Hewitt is made a party to this Action in his official capacity
        14    as a member of the Riverside County Board of Supervisors, which exercises broad
        15    legislative, executive, and quasi-judicial authority under California law, including the
        16    supervision of the county sheriff and public health officials. See, e.g., Cal. Gov’t. Code
        17    § 25000, et seq.; Cal. Health & Safety Code § 101000.
        18             27.     Each and every Defendant acted under color of state law with respect to all
        19    acts or omissions herein alleged.
        20                                          FACTUAL ALLEGATIONS
        21             28.     On or about March 13, 2020, President Donald J. Trump proclaimed a
        22    National State of Emergency as a result of the threat of the emergence of a novel
        23    coronavirus, COVID-19.2
        24             29.     Since the initial outbreak of COVID-19 in the United States in February
        25    and March 2020, the federal government’s projections of the anticipated national death
        26
        27    2
               As of the date of this filing, the Proclamation of a National Emergency can be found
        28    online at: https://www.whitehouse.gov/presidential-actions/proclamation-declaring-
              national-emergency-concerning-novel-coronavirus-disease-covid-19-outbreak/.
                                                           9
              Verified Complaint                                                                  Case No.
DocuSign Envelope ID: 8A5D3F55-713E-4B03-BA18-82A0F2BFF69A
                  Case 5:20-cv-00755 Document 1 Filed 04/13/20 Page 10 of 36 Page ID #:10




         1    toll related to the virus has decreased substantially, by an order of magnitude. Despite
         2    such revisions, Defendants have increasingly restricted—where not outright banned—
         3    Plaintiffs’ engagement in constitutionally-protected activities.3
         4             FACTUAL ALLEGATIONS AS TO THE STATE OF CALIFORNIA
         5             30.     On or about March 4, 2020, California Governor Gavin Newsom
         6    proclaimed a State of Emergency as a result of the threat of COVID-19.4
         7             31.     On or about March 19, 2020, California Governor Newsom issued
         8    Executive Order N-33-20 in which he ordered “all residents are directed to immediately
         9    heed the current State public health directives.”
        10             32.     The state public health directive requires “all individuals living in the State
        11    of California to stay home or at their place of residence except as needed to maintain
        12    continuity of operations of the federal critical infrastructure sectors …”.5
        13             33.     On or about March 22, 2020, the California Public Health Officer
        14    designated a list of “Essential Critical Infrastructure Workers.”6 Included on the list of
        15    the “essential workforce” are “faith based services that are provided through streaming
        16    or other technology.”
        17
        18
        19
        20    3
                See, e.g.,
        21    https://www.usatoday.com/story/news/investigations/2020/04/09/coronavirus-deaths-u-
              s-could-closer-60-k-new-model-shows/5122467002/
        22
              4
        23     As of the date of this filing, the Proclamation of a State of Emergency can be found
              online at: https://www.gov.ca.gov/wp-content/uploads/2020/03/3.4.20-Coronavirus-
        24    SOE-Proclamation.pdf.
        25
              5
        26     The State Public Health Directive was included in the text of Executive Order N-33-
              20.
        27
              6
        28     As of the date of this filing, the list of Essential Critical Infrastructure Workers can be
              found online at: https://covid19.ca.gov/img/EssentialCriticalInfrastructureWorkers.pdf.
                                                             10
              Verified Complaint                                                                    Case No.
DocuSign Envelope ID: 8A5D3F55-713E-4B03-BA18-82A0F2BFF69A
                  Case 5:20-cv-00755 Document 1 Filed 04/13/20 Page 11 of 36 Page ID #:11




         1             34.     Accordingly, this list prohibits all religious leaders from conducting in-
         2    person and out-of-home religious services, regardless of the measures taken to reduce or
         3    eliminate the risk of the virus spreading. Meanwhile, the list deems the continuity of
         4    services provided by coffee baristas, burger flippers, and laundromat technicians to be
         5    so necessary for society that these activities are permitted to continue under the State
         6    Order, despite the existence of the very same risk Defendants rely on to stymie the
         7    exercise of fundamental rights.
         8             35.     The public health directive provides that its directives “shall stay in effect
         9    until further notice.” Ex. 1.
        10               FACTUAL ALLEGATIONS AS TO SAN BERNADINO COUNTY
        11             36.     On or about April 7, 2020, defendant Dr. Erin Gustafson signed the San
        12    Bernardino Order.7
        13             37.     The San Bernardino Order “allow[s] faith based services that are provided
        14    through streaming or other technology, while individuals remain in their homes, but
        15    does not allow individuals to leave their home for driving parades or drive-up services,
        16    or for picking up non-essential items.” Ex. 2, § 2.
        17             38.     The San Bernardino Order requires all residents to “wear face coverings,
        18    such as scarves (dense fabric, without holes), bandanas, neck gaiters, or other fabric
        19    face coverings when they leave their homes or places of residence for essential
        20    activities.” Ex. 2, § 4.
        21             39.     The San Bernardino Order states that any violation “is a crime punishable
        22    by fine, imprisonment, or both.” Ex. 2.
        23             40.     The Order states that it will remain in effect “until rescinded.” Ex. 2.
        24             41.     The San Bernardino Order is signed by Defendant Dr. Erin Gustafson.
        25
        26
        27    7
               As of the date of this filing, the San Bernardino Order may be accessed online at the
        28    following URLs: http://wp.sbcounty.gov/dph/wp-
              content/uploads/sites/7/2020/04/SKM_C45820040714190.pdf.
                                                          11
              Verified Complaint                                                                    Case No.
DocuSign Envelope ID: 8A5D3F55-713E-4B03-BA18-82A0F2BFF69A
                  Case 5:20-cv-00755 Document 1 Filed 04/13/20 Page 12 of 36 Page ID #:12




         1             42.     Dr. Erin Gustafson is not an elected official but is the Acting Public Health
         2    Officer of San Bernardino. The San Bernardino Board of Supervisors have not appointed
         3    a Public Health Officer pursuant to Cal. Health & Safety Code §101000.
         4             43.     On April 8, 2020, San Bernardino County released a document on their
         5    website titled “Clarification of religious services and face-covering order” (hereinafter
         6    Clarification”). A copy of the Clarification is attached here as Exhibit 4.8
         7             44.     The Clarification is not signed by the Public Health Officer.
         8             45.     The Clarification does not revoke the San Bernardino Order.
         9             46.     The Clarification states “[o]n the subject of enforcement, the public is
        10    advised that although violation of a health order is a violation of the California Health
        11    and Safety Code, the County does not expect law enforcement to broadly impose
        12    citations on violators.”
        13             47.     The Clarification does not revoke law enforcement authority to criminally
        14    charge any individual who violates the San Bernardino Order.
        15             48.     Defendants have granted law enforcement unfettered discretion when
        16    deciding whether or not to enforce the San Bernardino Order.
        17             49.     The Clarification states that the “specific reference to drive-in religious
        18    service so close to major religious observances taking place during the next four days,
        19    for which organizations had already conducted considerable planning and incurred
        20    expenses, are clarified as follows: Organizations that have planned such services for the
        21    coming weekend should proceed with those services if they choose to do so and make
        22    every effort to prevent contact between congregants.”
        23             50.     The Clarification, which is not signed by any individual and is simply a
        24    document posted online, directly contradicts the written San Bernardino Order that
        25
        26
        27
              8
        28     As of the date of this filing, the San Bernardino Clarification can be found online at:
              http://wp.sbcounty.gov/cao/countywire/?p=5862.
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              Verified Complaint                                                                   Case No.
DocuSign Envelope ID: 8A5D3F55-713E-4B03-BA18-82A0F2BFF69A
                Case 5:20-cv-00755 Document 1 Filed 04/13/20 Page 13 of 36 Page ID #:13




         1    makes it a crime for churches to have drive-in religious services and for parishioners to
         2    attend such services.
         3             51.     Plaintiff Patrick Scales’ church, Shield of Faith Family Church, Inc., is
         4    located in San Bernardino County.
         5             52.     Plaintiff Scales desires to hold in-person religious services for those
         6    congregants who desire to attend church.
         7             53.     Plaintiff Scales believes that he can hold such religious services and
         8    abiding by social distancing tips recommended by the CDC by keeping congregants at
         9    least six feet apart, and provide for the wearing of masks and gloves.
        10             54.     Plaintiff Scales believes that religious services are essential for the spiritual
        11    health of the congregation so that the congregants can exhort one another during these
        12    difficult times.
        13             55.     Plaintiff Scales recognizes that most of his congregants will stay at home
        14    but he wants to be available for those who are healthy and feel that in-person church
        15    service can be safely attended.
        16             56.     Plaintiff Wendy Gish attends Shield of Faith Family Church and would
        17    attend an in-person church service should it be made available to her.
        18             57.     Plaintiff Gish regularly attends church services and believes that she has a
        19    scriptural command to “not neglect meeting together.”
        20             58.     To her knowledge, Plaintiff Gish has never had or contracted said
        21    coronavirus; she has never been at any time exposed to the danger of contracting it and
        22    has never been in close proximity to any locality where said coronavirus has or have
        23    existed.
        24             59.     As a result of not being able to attend in-person church, Plaintiff Gish has
        25    been deprived of the opportunity for important cultural, social, and religious activities,
        26    including speech activities pertaining to the coronavirus outbreak and the government’s
        27    response.
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              Verified Complaint                                                                     Case No.
DocuSign Envelope ID: 8A5D3F55-713E-4B03-BA18-82A0F2BFF69A
                  Case 5:20-cv-00755 Document 1 Filed 04/13/20 Page 14 of 36 Page ID #:14




         1             60.     As of April 11, 2020, San Bernardino County has eight hundred ten (810)
         2    coronavirus cases and twenty-five (25) COVID-19 associated deaths, according to
         3    information posted on the county’s website.9
         4             61.     The United States Census estimates that as of July 1, 2019, San Bernardino
         5    County’s population is 2,180,085 people.10
         6                        FACTUAL ALLEGATIONS AS TO RIVERSIDE COUNTY
         7             62.     On or about April 6, 2020, defendants Dr. Cameron Kaiser and George
         8    Johnson signed the Riverside Order.11
         9             63.     The Riverside Order prohibits “[a]ll public or private gatherings . . .
        10    including, but not limited to an auditorium, . . . church, . . . or any other indoor or
        11    outdoor space used for any non-essential purpose including, but not limited to . . .
        12    church . . . .” Ex. 3, § 1(a).
        13             64.     Exempted from its prohibition on public or private gatherings are
        14    numerous services, industries, and activities, including: “courts of law, medical
        15    providers . . . daycare and child care . . . [and] necessary shopping at fuel stations, stores
        16    or malls,” provided that a “state and federal guidelines for infection control” are
        17    observed. Ex. 3, § 1(b).
        18
        19
        20    9
               Per San Bernardino County Department of Public Health’s web page visited on April
        21    11, 2020 http://wp.sbcounty.gov/dph/coronavirus/.

        22    10
                 United States Census Bureau quick facts for San Bernardino County can be found
        23    online at:
              https://www.census.gov/quickfacts/fact/table/sanbernardinocountycalifornia/PST04521
        24    9.
        25
              11
        26      As of the date of this filing, the Riverside Order may be accessed online at the
              following URLs:
        27    https://www.rivcoph.org/Portals/0/Documents/CoronaVirus/April/PHOrders/Riv-
        28    EOC_20200406_090004.pdf?ver=2020-04-06-102528-
              423&timestamp=1586193935186.
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              Verified Complaint                                                                   Case No.
DocuSign Envelope ID: 8A5D3F55-713E-4B03-BA18-82A0F2BFF69A
                Case 5:20-cv-00755 Document 1 Filed 04/13/20 Page 15 of 36 Page ID #:15




         1             65.     The Riverside Order provides that “[a]ll essential business that remain in
         2    operation . . . shall follow the Social Distancing and Infection Control Guidelines
         3    published by the [Center for Disease Control] and California Department of Public
         4    Health . . . or the facility shall be closed.” Ex. 3, § 1(c).
         5             66.     The Riverside Order mandates that all people wear face coverings. Ex. 3, §
         6    1(d).
         7             67.     The Riverside Order expressly states that any violation “is a crime
         8    publishable by fine, imprisonment, or both.” Ex. 3, § 11.
         9             68.     The Riverside Order is signed by Defendant Dr. Cameron Kaiser.
        10             69.     The Riverside Order is also signed by Defendant George Johnson as County
        11    Executive Officer and Director of Emergency Services.
        12             70.     Dr. Cameron Kaiser is not an elected official but is appointed by the
        13    Riverside County Board of Supervisors. See Cal. Health & Safety Code §101000.
        14             71.     On April 10, 2020, Riverside County issued a press release in which they
        15    stated that “Drive-up church services that practice proper social distancing will be
        16    allowed this weekend in Riverside County, although the order to prohibit such activates
        17    will remain after Easter Sunday.”12
        18             72.     The April 10th clarification was issued by Defendant George Johnson.
        19             73.     Plaintiff James Dean Moffatt’s church, “Church Unlimited” is located in
        20    Riverside County.
        21             74.     Plaintiff James Dean Moffatt, upon learning about the coronavirus,
        22    immediately had his church building cleaned and disinfected.
        23             75.     Plaintiff Moffatt ensured that sanitizing materials were available to each
        24    person who entered his church and encouraged family units to sit at least six feet apart.
        25
        26    12
                 As of the date of this filing, the Riverside County News Release can be found online
        27    at:
        28    https://www.rivcoph.org/Portals/0/Documents/CoronaVirus/April/News/April_10.pdf?v
              er=2020-04-11-105351-463&timestamp=1586627749323.
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              Verified Complaint                                                                  Case No.
DocuSign Envelope ID: 8A5D3F55-713E-4B03-BA18-82A0F2BFF69A
                Case 5:20-cv-00755 Document 1 Filed 04/13/20 Page 16 of 36 Page ID #:16




         1             76.     Plaintiff Moffatt encouraged anyone who was uncomfortable with
         2    gathering during coronavirus to stay at home.
         3             77.     Plaintiff Moffatt encouraged anyone who was sick to stay at home.
         4             78.     On April 9, 2020, Plaintiff Moffatt was fined $1,000 for violating the
         5    Riverside Order for holding a church service on April 5, 2020, Palm Sunday.
         6             79.     To his knowledge, Plaintiff Moffatt has never had or contracted the
         7    coronavirus; he has never been at any time exposed to the danger of contracting it; and
         8    has never been in close proximity to any locality where said coronavirus has or have
         9    existed.
        10             80.     But for the Riverside Order and Defendants’ enforcement thereof, Plaintiff
        11    Moffatt would continue to hold in-person religious services in Riverside County, while
        12    taking the same social distancing precautions taken by “essential businesses” that
        13    Defendants continue to allow to operate in the county, despite any prevalence of
        14    COVID-19. Plaintiff Moffatt believes that it is important for Christians to come
        15    together, remember, and celebrate all that Jesus has done for this world.
        16             81.     As a result of not being able to conduct an in-person church service,
        17    Plaintiff Moffatt has been deprived of the opportunity for important cultural, socials,
        18    and religious activities, including speech activities pertaining to the coronavirus
        19    outbreak and the government’s response.
        20             82.     Plaintiff Brenda Wood’s church, Word of Life Ministries International Inc.
        21    is located in Riverside County.
        22             83.     Word of Life Ministries International Inc. has approximately 20-30 regular
        23    attendees.
        24             84.     Plaintiff Brenda Wood believes Scripture commands her to provide
        25    opportunities for the believers to obey Hebrews 10:25 where the believers meet together
        26    and encourage one another.
        27             85.     Plaintiff Brenda Wood held a drive-up church service on Easter Sunday.
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              Verified Complaint                                                                 Case No.
DocuSign Envelope ID: 8A5D3F55-713E-4B03-BA18-82A0F2BFF69A
                   Case 5:20-cv-00755 Document 1 Filed 04/13/20 Page 17 of 36 Page ID #:17




         1              86.    The drive-up church service provided appropriate social distancing, with
         2    everyone wearing masks and staying in their vehicles. The restrooms were not made
         3    available. Each car was parked at least six feet from other vehicles.
         4              87.    During the service, Plaintiff Brenda Wood used a portable sound
         5    amplification system. The congregants had to roll down their windows in order to listen.
         6              88.    During the service, communion was served by an individual wearing a
         7    mask and gloves and the elements were pre-packaged. The person serving communion
         8    used tongs to remove the communion cups from the pre-packaged box.
         9              89.    At this time, Plaintiff Brenda Wood has postponed all baptisms at her
        10    church.
        11              90.    Plaintiff Brenda Wood would like to hold drive-up church services every
        12    Sunday following safe social distancing practices until the state of emergency has been
        13    lifted.
        14              91.    As of April 11, 2020, Riverside County has one thousand four hundred
        15    thirty-one (1,431) coronavirus cases and forty-one (41) coronavirus associated deaths,
        16    according to information posted on the county’s website.13
        17              92.    The United States Census estimates that as of July 1, 2019, Riverside
        18    County’s population is 2,470,546 people.14
        19
        20
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        23    //
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              13
        26      Per Riverside County Department of Public Health’s web page visited on April 11,
              2020 https://rivcoph.org/coronavirus.
        27
              14
        28      United States Census Bureau quick facts for Riverside County can be found online at:
              https://www.census.gov/quickfacts/fact/table/riversidecountycalifornia/PST045219.
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              Verified Complaint                                                                 Case No.
DocuSign Envelope ID: 8A5D3F55-713E-4B03-BA18-82A0F2BFF69A
                Case 5:20-cv-00755 Document 1 Filed 04/13/20 Page 18 of 36 Page ID #:18




         1                                                       CLAIMS
         2                                         FIRST CLAIM FOR RELIEF
         3                   Free Exercise Clause of First Amendment to U.S. Constitution
         4                                                   (42 U.S.C. § 1983)
         5                                    (By all Plaintiffs against all Defendants)
         6             93.     Plaintiffs incorporate by reference the allegations in the preceding
         7    paragraphs, as if fully set forth herein.
         8             94.     The Orders and Defendants’ enforcement thereof violate the First
         9    Amendment, both facially and as-applied to Plaintiffs. The First Amendment of the
        10    Constitution protects the “free exercise” of religion. Fundamental to this protection is
        11    the right to gather and worship. See W. Va. State Bd. of Educ. v. Barnette, 319 U.S. 624,
        12    638 (1943) (“The very purpose of a Bill of Rights was to withdraw certain subjects
        13    from the vicissitudes of political controversy, to place them beyond the reach of
        14    majorities and officials and to establish them as legal principles to be applied by the
        15    courts … [such as the] freedom of worship and assembly.”). The Free Exercise Clause
        16    applies to the states through the Due Process Clause of the Fourteenth Amendment.
        17    Cantwell v. Connecticut, 310 U.S. 296 (1940).
        18             95.     As the Supreme Court has noted, “a law burdening religious practice that is
        19    not neutral or not of general application must undergo the most rigorous of scrutiny.”
        20    Church of the Lukumi Babalu Aye, Inc. v. Hialeah, 508 U.S. 520, 546 (1993). “A law is
        21    not generally applicable if its prohibitions substantially underinclude non-religiously
        22    motivated conduct that might endanger the same governmental interest that the law is
        23    designed to protect.” Stormans, Inc. v. Wiesman, 794 F.3d 1064, 1079 (9th Cir. 2015)
        24    (citing Lukumi, 508 U.S. at 542–46). “In other words, if a law pursues the government’s
        25    interest ‘only against conduct motivated by religious belief,’ but fails to include in its
        26    prohibitions substantial, comparable secular conduct that would similarly threaten the
        27    government’s interest, then the law is not generally applicable.” Id.
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              Verified Complaint                                                                  Case No.
DocuSign Envelope ID: 8A5D3F55-713E-4B03-BA18-82A0F2BFF69A
                Case 5:20-cv-00755 Document 1 Filed 04/13/20 Page 19 of 36 Page ID #:19




         1             96.     The Orders are neither neutral nor of general application. Defendants’
         2    restrictions have specifically and explicitly targeted religious and “faith-based” services
         3    and are thus not neutral on their face. Defendants have prohibited certain public and
         4    private gatherings deemed “non-essential,” including out-of-home religious services,
         5    while exempting a laundry list of industries and services purportedly “essential” to the
         6    government’s various interests, including medical cannabis dispensaries and other
         7    medical providers, courts, public utilities, daycare and childcare, and “necessary”
         8    shopping. Further, several Defendants have granted ad hoc exemptions to the Orders for
         9    particular religious gatherings of particular faiths – i.e., Christians permitted to
        10    celebrate Easter, but no other gatherings, and other faiths given no exemptions.
        11             97.     In addition to relegating all faith activities to a second-class status (at best),
        12    Defendants have threatened criminal penalties for holding in person services, and have
        13    thus substantially burdened Plaintiffs’ religious exercise by forcing them to choose
        14    between their sincerely held religious beliefs and their desire to follow secular rules, in
        15    many cases imposed by unelected officials.
        16             98.     Laws and government actions that burden religious practice and are either
        17    not neutral or not generally applicable must satisfy a compelling governmental interest
        18    and be narrowly tailored to achieve that end.
        19             99.     Defendants’ mandates are not “narrowly tailored” to further any
        20    compelling governmental interest. Defendants have granted numerous special
        21    exemptions to their bans on public gatherings and conduct, including for purportedly
        22    “essential” businesses and activities, provided that social distancing practices are
        23    observed; and even for out-of-home religious services during Easter, an important day
        24    of religious significance for Christians. Since these gatherings may be permitted, there
        25    can be no doubt that Defendants may, and therefore must, permit Plaintiffs to engage in
        26    equivalent religious activities and services provided that Plaintiffs also adhere to the
        27    social distancing guidelines currently in place.
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              Verified Complaint                                                                      Case No.
DocuSign Envelope ID: 8A5D3F55-713E-4B03-BA18-82A0F2BFF69A
                Case 5:20-cv-00755 Document 1 Filed 04/13/20 Page 20 of 36 Page ID #:20




         1             100. Requiring Plaintiffs to abstain from religious gatherings, despite
         2    substantial modifications to satisfy the public health interests at stake, violates
         3    Plaintiffs’ Constitutional right to free exercise of religion. The state does not have the
         4    power under our Constitutional scheme to decree that as to faith activities, “streaming”
         5    (for those congregations and parishioners with the wealth and technological acumen to
         6    partake of such truncated substitutes) is “good enough” when at the same time the state
         7    protects the media organizations’ First Amendment rights to freedom of the press while
         8    denying the plaintiffs First Amendment Free Exercise of Religion.
         9             101. Plaintiffs have no adequate remedy at law and will suffer serious and
        10    irreparable harm to their constitutional rights unless Defendants are enjoined from
        11    implementing and enforcing the Orders.
        12             102. Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiffs are entitled to
        13    declaratory relief and temporary, preliminary, and permanent injunctive relief
        14    invalidating and restraining enforcement of the Orders.
        15             103. Plaintiffs found it necessary to engage the services of private counsel to
        16    vindicate their rights under the law. Plaintiffs are therefore entitled to an award of
        17    attorneys’ fees pursuant to 42 U.S.C. § 1988.
        18                                       SECOND CLAIM FOR RELIEF
        19                  Establishment Clause of First Amendment to U.S. Constitution
        20                                                   (42 U.S.C. § 1983)
        21                                    (By all Plaintiffs against all Defendants)
        22             104. Plaintiffs incorporate by reference the allegations in the preceding
        23    paragraphs, as if fully set forth herein.
        24             105. The Orders and Defendants’ enforcement thereof violate the First
        25    Amendment, both facially and as-applied to Plaintiffs. The Establishment Clause of the
        26    “First Amendment mandates governmental neutrality between religion and religion, and
        27    between religion and nonreligion.” McCreary Cty., Ky. v. Am. Civil Liberties Union of
        28    Ky., 545 U.S. 844, 860 (2005) (citing Epperson v. Arkansas, 393 U.S. 97, 104 (1968)).

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              Verified Complaint                                                                    Case No.
DocuSign Envelope ID: 8A5D3F55-713E-4B03-BA18-82A0F2BFF69A
                Case 5:20-cv-00755 Document 1 Filed 04/13/20 Page 21 of 36 Page ID #:21




         1    The Establishment Clause applies to the states through the Due Process Clause of the
         2    Fourteenth Amendment. Everson v. Board of Ed. of Ewing, 330 U.S. 1 (1947).
         3             106. Defendants have not and do not act with a clearly secular purpose in
         4    adopting and enforcing the Orders. Defendants have made several exceptions to their
         5    Orders, including certain religious activities during Easter, a day significant to
         6    Christians, without exempting those same activities when occurring on days both before
         7    and after Easter, or on days significant to other faiths. It is not for Defendants to
         8    determine which faiths, and on which days of religious significance to those faiths,
         9    religious services may take place.
        10             107. The Orders and Defendants’ ad hoc enforcement thereof have the primary
        11    effect of inhibiting religious activity.
        12             108. Defendants have failed to avoid excessive government entanglement with
        13    religion. Defendants permit only some forms of religious observance, such as live-
        14    streamed, at-home religious activities, and, as to the Riverside Order only, in-person
        15    services during Easter weekend.
        16             109. There is no historical precedence in the United States for inhibiting
        17    religious practices on terms more restrictive than those imposed on identical secular
        18    activities, as Defendants do now.
        19             110. Plaintiffs have no adequate remedy at law and will suffer serious and
        20    irreparable harm to their constitutional rights unless Defendants are enjoined from
        21    implementing and enforcing the Orders.
        22             111. Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiffs are entitled to
        23    declaratory relief and temporary, preliminary, and permanent injunctive relief
        24    invalidating and restraining enforcement of the Orders.
        25             112. Plaintiffs found it necessary to engage the services of private counsel to
        26    vindicate their rights under the law. Plaintiffs are therefore entitled to an award of
        27    attorneys’ fees pursuant to 42 U.S.C. § 1988.
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                                                             21
              Verified Complaint                                                                   Case No.
DocuSign Envelope ID: 8A5D3F55-713E-4B03-BA18-82A0F2BFF69A
                Case 5:20-cv-00755 Document 1 Filed 04/13/20 Page 22 of 36 Page ID #:22




         1                                         THIRD CLAIM FOR RELIEF
         2                    Free Speech Clause of First Amendment to U.S. Constitution
         3                                                   (42 U.S.C. § 1983)
         4                                    (By all Plaintiffs against all Defendants)
         5             113. Plaintiffs incorporate by reference the allegations in the preceding
         6    paragraphs, as if fully set forth herein.
         7             114. The Orders and Defendants’ enforcement thereof violate the First
         8    Amendment, both facially and as-applied to Plaintiffs.
         9             115. Under Defendants’ Orders, public gatherings and church services are
        10    prohibited.
        11             116. Plaintiffs engage in protected speech through worship, religious
        12    discussions, singing hymnals, and praying with their congregation.
        13             117. Defendants’ imposition of the Orders is unreasonable and has a chilling
        14    effect on protected speech by outright banning in-person church services at the pain of
        15    criminal penalty. Furthermore, several of the Defendants have granted ad hoc
        16    exemptions to the Orders for Easter, but not any other Sunday or day of religious
        17    significance to other faiths. Additionally, a representative of Riverside County has
        18    stated that Sheriffs are not expected to enforce every violation, but failed to provide any
        19    guidance as to what violations would be prioritized, leaving it up to the Sheriffs’
        20    unfettered discretion to decide which violations to enforce. Such a lack of standards
        21    along with a grant of such discretion renders the Orders unconstitutional both facially
        22    and as they are applied.
        23             118. The Orders are unconstitutionally overbroad, and therefore void as a matter
        24    of law, both on their faces, and as it is applied.
        25             119. Plaintiffs have no adequate remedy at law and will suffer serious and
        26    irreparable harm to their constitutional rights unless Defendants are enjoined from
        27    implementing and enforcing the Orders.
        28             120. Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiffs are entitled to

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              Verified Complaint                                                                 Case No.
DocuSign Envelope ID: 8A5D3F55-713E-4B03-BA18-82A0F2BFF69A
                Case 5:20-cv-00755 Document 1 Filed 04/13/20 Page 23 of 36 Page ID #:23




         1    declaratory relief and temporary, preliminary, and permanent injunctive relief
         2    invalidating and restraining enforcement of the Orders.
         3             121. Plaintiffs found it necessary to engage the services of private counsel to
         4    vindicate their rights under the law. Plaintiffs are therefore entitled to an award of
         5    attorneys’ fees pursuant to 42 U.S.C. § 1988.
         6                                       FOURTH CLAIM FOR RELIEF
         7                     Violation of First Amendment Freedom of Assembly Clause
         8                                                   (42 U.S.C. § 1983)
         9                                    (By all Plaintiffs against all Defendants)
        10             122. Plaintiffs incorporate by reference the allegations in the preceding
        11    paragraphs, as if fully set forth herein.
        12             123. The Orders and Defendants’ enforcement thereof violate the First
        13    Amendment, both facially and as-applied to Plaintiffs. The First Amendment of the
        14    Constitution protects the “right of the people peaceably to assemble.” The Freedom of
        15    Assembly Clause was incorporated against the states in De Jonge v. Oregon, 299 U.S.
        16    353 (1937).
        17             124. “The right of free speech, the right to teach, and the right of assembly are,
        18    of course, fundamental rights.” Whitney v. California, 274 U.S. 357, 373 (1927). When
        19    a government practice restricts fundamental rights, it is subject to “strict scrutiny” and
        20    can be justified only if it furthers a compelling government purpose and, even then,
        21    only if no less restrictive alternative is available. See, e.g., San Antonio Indep. Sch. Dist.
        22    v. Rodriguez, 411 U.S. 1, 16-17 (1973); Dunn v. Blumstein, 405 U.S. 330 (1972).
        23             125. By denying Plaintiff Brenda Wood the ability to conduct services via a
        24    drive-in church service that complies with the CDC guidelines for social distancing,
        25    Defendants are in violation of the Freedom of Assembly Clause. Defendants cannot
        26    meet the no-less-restrictive-alternative test. The CDC’s social distancing guidelines are
        27    appropriate to limit the spread of COVID-19. Imposing more restrictive requirements
        28    that target churches and their drive-in services while at the same time allowing

                                                                    23
              Verified Complaint                                                                 Case No.
DocuSign Envelope ID: 8A5D3F55-713E-4B03-BA18-82A0F2BFF69A
                   Case 5:20-cv-00755 Document 1 Filed 04/13/20 Page 24 of 36 Page ID #:24




         1    restaurants, coffee shops, marijuana dispensaries to operate drive-ups is not the least
         2    restrictive means of achieving Defendants’ public safety goals.
         3             126. By denying Plaintiff Patrick Scales from Shield of Faith Family Church
         4    and Plaintiff James Moffatt of Church Unlimited the ability to assemble via an in-
         5    person church service that complies with the CDC guidelines for social distancing,
         6    Defendants are in violation of the Freedom of Assembly Clause. Defendants cannot
         7    meet the no-less restrictive-alternative test. The CDC’s social distancing guidelines are
         8    appropriate to limit the spread of COVID-19. Imposing more restrictive requirements
         9    that target churches and their in-person services while allowing grocery stores,
        10    laundromats, and marijuana dispensaries is not the least restrictive means of achieving
        11    Defendants’ public safety goals.
        12             127. Requiring Plaintiffs to abstain from religious gatherings, despite
        13    substantial modifications to satisfy the public health interests at stake, violates
        14    Plaintiffs’ Constitutional right to peaceably assemble.
        15             128. Plaintiffs have no adequate remedy at law and will suffer serious and
        16    irreparable harm to their constitutional rights unless Defendants are enjoined from
        17    implementing and enforcing the Orders.
        18             129. Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiffs are entitled to
        19    declaratory relief and temporary, preliminary, and permanent injunctive relief
        20    invalidating and restraining enforcement of the Orders.
        21             130. Plaintiffs found it necessary to engage the services of private counsel to
        22    vindicate their rights under the law. Plaintiffs are therefore entitled to an award of
        23    attorneys’ fees pursuant to 42 U.S.C. § 1988.
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              Verified Complaint                                                                    Case No.
DocuSign Envelope ID: 8A5D3F55-713E-4B03-BA18-82A0F2BFF69A
                Case 5:20-cv-00755 Document 1 Filed 04/13/20 Page 25 of 36 Page ID #:25




         1                                         FIFTH CLAIM FOR RELIEF
         2                  Due Process Clause of Fourteenth Amendment to U.S. Constitution
         3                                                   (42 U.S.C. § 1983)
         4                                    (By all Plaintiffs against all Defendants)
         5             131. Plaintiffs incorporate by reference the allegations in the preceding
         6    paragraphs, as if fully set forth herein.
         7             132. The Orders and Defendants’ enforcement thereof violate the Due Process
         8    Clause of the Fourteenth Amendment, both facially and as-applied to Plaintiffs.
         9             133. A regulation is constitutionally void on its face when, as matter of due
        10    process, it is so vague that persons “of common intelligence must necessarily guess at
        11    its meaning and differ as to its application” Connally v. General Const. Co., 269 U.S.
        12    385, 391 (1926); People ex rel. Gallo v. Acuna, 14 Cal.4th 1090, 1115 (1997). The void
        13    for vagueness doctrine is designed to prevent arbitrary and discriminatory enforcement.
        14    The problem with a vague regulation is that it “impermissibly delegates basic policy
        15    matters to policemen, judges, and juries for resolution on an ad hoc and subjective
        16    basis....” Grayned v. City of Rockford, 408 U.S. 104, 108–109 (1972).
        17             134. Defendants’ Orders are void for vagueness. In conjunction with issuing the
        18    Orders, including for the following reasons:
        19             a.      The State Order provides that individuals are ordered to “heed” State
        20    public health directives. The word “heed” is defined by Webster’s Dictionary to mean
        21    “to give consideration or attention to” —not specifically to adhere to those directives.
        22    Yet, the State Order is widely reported in the media and cited by local and state
        23    officials, including the San Bernardino and Riverside Orders, as compelling compliance
        24    with State public health directives to shelter in place unless conducting essential
        25    business. The State Order also includes the text of the public health directive, which
        26    includes language that ostensibly “order[s]” compliance, creating further ambiguity as
        27    to whether Plaintiffs must comply with, or merely heed, the public health directive.
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              Verified Complaint                                                                Case No.
DocuSign Envelope ID: 8A5D3F55-713E-4B03-BA18-82A0F2BFF69A
                   Case 5:20-cv-00755 Document 1 Filed 04/13/20 Page 26 of 36 Page ID #:26




         1    Accordingly, the State Order is vague as to what precisely is being ordered, and what
         2    actions may result in criminal penalties, fines, or imprisonment.
         3             b.      The San Bernardino Order does not exempt any particular religious
         4    holidays, yet San Bernardino has explicitly exempted compliance during Easter
         5    weekend. County officials have also stated that it “does not expect law enforcement to
         6    broadly impose citations on violators” and that “the expectation is that law enforcement
         7    will rely upon community members to use good judgment, common sense, and act in
         8    the best interest of their own health and the health of their loved ones and the
         9    community at large.”
        10             c.      The Riverside County Order states that “non-essential personnel . . . are
        11    prohibited from entry into any hospital or long-term care facility,” ostensibly banning
        12    “non-essential” people from seeking medical care. Yet, the Order states that “visitors”
        13    may be permitted access to hospitals under certain conditions. No reasonable person can
        14    make sense of what conduct is permitted under the Order
        15             135. As a result of these ambiguities, no reasonable person could understand
        16    what conduct violates the Order and might subject that person to criminal penalties.
        17             136. Plaintiffs have no adequate remedy at law and will suffer serious and
        18    irreparable harm to their constitutional rights unless Defendants are enjoined from
        19    implementing and enforcing the Orders.
        20             137. Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiffs are entitled to
        21    declaratory relief and temporary, preliminary, and permanent injunctive relief
        22    invalidating and restraining enforcement of the Orders.
        23             138. Plaintiffs found it necessary to engage the services of private counsel to
        24    vindicate their rights under the law. Plaintiffs are therefore entitled to an award of
        25    attorneys’ fees pursuant to 42 U.S.C. § 1988.
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              Verified Complaint                                                                 Case No.
DocuSign Envelope ID: 8A5D3F55-713E-4B03-BA18-82A0F2BFF69A
                Case 5:20-cv-00755 Document 1 Filed 04/13/20 Page 27 of 36 Page ID #:27




         1                                         SIXTH CLAIM FOR RELIEF
         2               Due Process Clause of Fourteenth Amendment to U.S. Constitution
         3                                                   (42 U.S.C. § 1983)
         4                                    (By all Plaintiffs against all Defendants)
         5             139. Plaintiffs incorporate by reference the allegations in the preceding
         6    paragraphs, as if fully set forth herein.
         7             140. The Orders and Defendants’ enforcement thereof violate Plaintiffs’
         8    substantive due process rights secured by the Fourteenth Amendment to the U.S.
         9    Constitution. Under the Due Process Clause of the Fourteenth Amendment, no State
        10    shall “deprive any person of life, liberty, or property, without due process of law.” The
        11    fundamental liberties protected by this Clause include most of the rights enumerated in
        12    the Bill of Rights. See Duncan v. Louisiana, 391 U.S. 145, 147–149 (1968). In addition,
        13    these liberties extend to certain personal choices central to individual dignity and
        14    autonomy, including intimate choices that define personal identity and beliefs. See, e.g.,
        15    Eisenstadt v. Baird, 405 U.S. 438, 453 (1972); Griswold v. Connecticut, 381 U.S. 479,
        16    484–486 (1965).
        17             141. Plaintiffs’ rights to freedom of religion, assembly, speech, and travel are
        18    fundamental rights protected by the U.S. Constitution. See, e.g., Aptheker v. Secretary
        19    of State, 378 U.S. 500, 520 (1964); Kent v. Dulles, 357 U.S. 116, 127 (1958).
        20             142. When a government practice restricts fundamental rights such as the right
        21    to practice religion freely, assemble peacefully, speak, and travel, it is subject to “strict
        22    scrutiny” and can be justified only if it furthers a compelling government purpose, and,
        23    even then, only if no less restrictive alternative is available. See, e.g. Memorial Hospital
        24    v. Maricopa County, 415 U.S. 250, 257-258 (1974); Dunn v. Blumstein, 405 U.S. 330,
        25    339-341 (1972); Shapiro v. Thompson, 394 U.S. 618, 89 (1969), Maher v. Roe, 432
        26    U.S. 464, 488 (1977).
        27             143. Strict scrutiny applies to Plaintiffs’ claims because both the Riverside
        28    Order and the San Bernardino Order mandate that Plaintiffs stay at home, impinging on

                                                                    27
              Verified Complaint                                                                 Case No.
DocuSign Envelope ID: 8A5D3F55-713E-4B03-BA18-82A0F2BFF69A
                Case 5:20-cv-00755 Document 1 Filed 04/13/20 Page 28 of 36 Page ID #:28




         1    their fundamental rights to freedom of religion, assembly, speech, and travel. These
         2    Orders do not permit Plaintiffs to exercise these rights, even while conforming to the
         3    CDC guidelines for social distancing, unless Defendants deem them “essential” or as
         4    participating in “essential” activities.
         5             144. Defendants’ mandates are not “narrowly tailored” to further any
         6    compelling governmental interest. Defendants’ have granted numerous special
         7    exemptions to their bans on public gatherings, including for purportedly “essential”
         8    businesses and activities, provided that social distancing practices are observed; and
         9    even for out-of-home religious services during Easter, an important day of religious
        10    significance for Christians. Since these gatherings can be permitted, there can be no
        11    doubt that Defendants may, and therefore must, permit Plaintiffs to engage in
        12    equivalent constitutionally-protected activities provided that Plaintiffs also adhere to the
        13    social distancing guidelines.
        14             145. Plaintiffs have no adequate remedy at law and will suffer serious and
        15    irreparable harm to their constitutional rights unless Defendants are enjoined from
        16    implementing and enforcing the Orders.
        17             146. Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiffs are entitled to
        18    declaratory relief and temporary, preliminary, and permanent injunctive relief
        19    invalidating and restraining enforcement of the Orders.
        20             147. Plaintiffs found it necessary to engage the services of private counsel to
        21    vindicate their rights under the law. Plaintiffs are therefore entitled to an award of
        22    attorneys’ fees pursuant to 42 U.S.C. § 1988.
        23                                      SEVENTH CLAIM FOR RELIEF
        24            Equal Protection Clause of Fourteenth Amendment to U.S. Constitution
        25                                                   (42 U.S.C. § 1983)
        26                                    (By all Plaintiffs against all Defendants)
        27             148. Plaintiffs incorporate by reference the allegations in the preceding
        28    paragraphs, as if fully set forth herein.

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              Verified Complaint                                                                 Case No.
DocuSign Envelope ID: 8A5D3F55-713E-4B03-BA18-82A0F2BFF69A
                Case 5:20-cv-00755 Document 1 Filed 04/13/20 Page 29 of 36 Page ID #:29




         1             149. The Orders and Defendants’ enforcement thereof violate the Fourteenth
         2    Amendment, both facially and as-applied to Plaintiffs. The Fourteenth Amendment of
         3    the Constitution provides that “[n]o State shall . . . deny to any person within its
         4    jurisdiction the equal protection of the laws.” Equal protection requires the state to
         5    govern impartially—not draw arbitrary distinctions between individuals based solely on
         6    differences that are irrelevant to a legitimate governmental objection.
         7             150. Defendants intentionally and arbitrarily categorize individuals and conduct
         8    as either “essential” or “non-essential.” Those persons classified as “essential,” or as
         9    participating in essential services, are permitted to go about their business and activities
        10    provided certain social distancing practices are employed. Those classified as “non-
        11    essential,” or as engaging in non-essential activities, are required to stay in their
        12    residence, unless it becomes necessary for them to leave for one of the enumerated
        13    “essential” activities.
        14             151. Strict scrutiny under the Equal Protection Clause applies where, as here,
        15    the classification impinges on a fundamental right, including the right to practice
        16    religion freely, to right to free speech and assembly, and the right to travel, among
        17    others.
        18             152. Defendants cannot satisfy strict scrutiny, because their arbitrary
        19    classifications are not narrowly tailored measures that further compelling government
        20    interests, for the reasons stated above.
        21             153. Plaintiffs have no adequate remedy at law and will suffer serious and
        22    irreparable harm to their constitutional rights unless Defendants are enjoined from
        23    implementing and enforcing the Orders.
        24             154. Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiffs are entitled to
        25    declaratory relief and temporary, preliminary, and permanent injunctive relief
        26    invalidating and restraining enforcement of the Orders.
        27             155. Plaintiffs found it necessary to engage the services of private counsel to
        28    vindicate their rights under the law. Plaintiffs are therefore entitled to an award of

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              Verified Complaint                                                                 Case No.
DocuSign Envelope ID: 8A5D3F55-713E-4B03-BA18-82A0F2BFF69A
                Case 5:20-cv-00755 Document 1 Filed 04/13/20 Page 30 of 36 Page ID #:30




         1    attorneys’ fees pursuant to 42 U.S.C. § 1988.
         2                                       EIGHTH CLAIM FOR RELIEF
         3                                                   Right to Liberty
         4                                              (Cal. Const. Art. 1, § 1)
         5                                    (By all Plaintiffs against all Defendants)
         6             156. Plaintiffs incorporate by reference the allegations in the preceding
         7    paragraphs, as if fully set forth herein.
         8             157. In California, “[a]ll people are by nature free and independent and have
         9    inalienable rights. Among these are enjoying and defending life and liberty, acquiring,
        10    possessing, and protecting property, and pursuing and obtaining safety, happiness, and
        11    privacy. Cal. Const. Art. 1, §1.
        12             158. California courts have held that Public Health Officials’ authority over the
        13    rights of personal liberty is limited. Before exercising their full powers to quarantine,
        14    there must be “reasonable grounds [] to support the belief that the person so held is
        15    infected.” Ex parte Martin, 83 Cal. App. 2d 164 (1948). Public Health Officials must be
        16    able to show “probable cause to believe the person so held has an infectious disease …”
        17    Id.
        18             159. California courts found that Public Health Officials could not quarantine
        19    12 blocks of San Francisco Chinatown because of nine (9) deaths due to bubonic
        20    plague. See Jew Ho v. Williamson, 103 F. 10 (C.C. Cal. 1900), and Wong Wai v.
        21    Williamson, 103 F. 1 (C.C. Cal. 1900).
        22             160. The court found it “purely arbitrary, unreasonable, unwarranted, wrongful,
        23    and oppressive interference with the personal liberty of complainant” who had “never
        24    had or contracted said bubonic plague; that he has never been at any time exposed to the
        25    danger of contracting it, and has never been in any locality where said bubonic plague,
        26    or any germs of bacteria thereof, has or have existed”. Jew Ho, 103 F. 10 (C.C. Cal.
        27    1900).
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              Verified Complaint                                                                Case No.
DocuSign Envelope ID: 8A5D3F55-713E-4B03-BA18-82A0F2BFF69A
                Case 5:20-cv-00755 Document 1 Filed 04/13/20 Page 31 of 36 Page ID #:31




         1             161. California courts have found that “a mere suspicion [of a contagious
         2    disease], unsupported by facts giving rise to reasonable or probable cause, will afford
         3    no justification at all for depriving persons of their liberty and subjecting them to virtual
         4    imprisonment under a purported order of quarantine.” Ex parte Arta, 52 Cal. App. 380,
         5    383 (1921) (emphasis added).
         6             162. In Jew Ho v. Williamson, 103 F. 10 (C.C. Cal. 1900), and Wong Wai v.
         7    Williamson, 103 F. 1 (CC Cal. 1900), the California courts found that there were more
         8    than 15,000 people living in the twelve blocks of San Francisco Chinatown who were to
         9    be quarantined. The courts found it unreasonable to shut down the ability of over
        10    15,000 people to make a living because of nine deaths. This was one death for every
        11    1,666 inhabitants of Chinatown.
        12             163. As of July 1, 2020, San Bernardino and Riverside Counties have a
        13    combined population of 4,650,631 individuals and as of April 11, 2020, San Bernardino
        14    and Riverside Counties have a total of 66 coronavirus deaths. That is one death for
        15    every 70,464 inhabitants.
        16             164. Plaintiffs have never had or contracted said coronavirus; they have never
        17    been at any time exposed to the danger of contracting it, and have never been in any
        18    locality where said coronavirus, or any germs of bacteria thereof, has or have existed.
        19             165. Requiring Plaintiffs to abstain from all religious gatherings, despite
        20    substantial modifications to satisfy the public health interests at stake, violates their
        21    California Constitutional liberty rights.
        22             166. Plaintiffs have no adequate remedy at law and will suffer serious and
        23    irreparable harm to their constitutional rights unless Defendants are enjoined from
        24    implementing and enforcing the Orders.
        25             167. Plaintiffs have found it necessary to engage the services of private counsel
        26    to vindicate their rights under the law. Plaintiffs are therefore entitled to an award of
        27    attorney fees and costs pursuant to California Code of Civil Procedure Section 1021.5.
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                                                             31
              Verified Complaint                                                                 Case No.
DocuSign Envelope ID: 8A5D3F55-713E-4B03-BA18-82A0F2BFF69A
                   Case 5:20-cv-00755 Document 1 Filed 04/13/20 Page 32 of 36 Page ID #:32




         1                                         NINTH CLAIM FOR RELIEF
         2                                                   Freedom of Speech
         3                                              (Cal. Const. Art. 1, § 2)
         4                                    (By all Plaintiffs against all Defendants)
         5             168. Plaintiffs incorporate by reference the allegations in the preceding
         6    paragraphs, as if fully set forth herein.
         7             169. In California “[e]very person may freely speak, write and publish his or her
         8    sentiments on all subjects, being responsible for the abuse of this right. A law may not
         9    restrain or abridge liberty of speech or press.” Cal. Const. Art. 1, §2.
        10             170. “The California Supreme Court has recognized that the California
        11    Constitution is ‘more protective, definitive and inclusive of rights to expression and
        12    speech’ than the First Amendment to the United States Constitution.” Rosenbaum v.
        13    City and County of San Francisco, 484 F.3d 1142, 1167 (9th Cir. 2007).
        14             171. For the reasons stated in Plaintiffs’ Third Claim for Relief, requiring
        15    Plaintiffs to abstain from its religious gatherings, despite substantial modifications to
        16    satisfy the public health interests at stake, violates Plaintiffs’ liberty of speech rights
        17    under the California Constitution as well.
        18             172. Plaintiffs have no adequate remedy at law and will suffer serious and
        19    irreparable harm to their constitutional rights unless Defendants are enjoined from
        20    implementing and enforcing the Orders.
        21             173. Plaintiffs have found it necessary to engage the services of private counsel
        22    to vindicate their rights under the law. Plaintiffs are therefore entitled to an award of
        23    attorney fees and costs pursuant to California Code of Civil Procedure Section 1021.5.
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              Verified Complaint                                                                  Case No.
DocuSign Envelope ID: 8A5D3F55-713E-4B03-BA18-82A0F2BFF69A
                Case 5:20-cv-00755 Document 1 Filed 04/13/20 Page 33 of 36 Page ID #:33




         1                                        TENTH CLAIM FOR RELIEF
         2                                               Freedom of Assembly
         3                                              (Cal. Const. Art. 1, § 3)
         4                                    (By all Plaintiffs against all Defendants)
         5             174. Plaintiffs incorporate by reference the allegations in the preceding
         6    paragraphs, as if fully set forth herein.
         7             175. In California “[t]he people have the right to … assemble freely to consult
         8    for the common good.” Cal. Const. Art. 1, §3.
         9             176. For the reasons stated in Plaintiffs’ Fourth Claim for Relief, requiring
        10    Plaintiffs to abstain from its religious gatherings, despite substantial modifications to
        11    satisfy the public health interests at stake, violates Plaintiffs’ right to assemble freely
        12    under the California Constitution as well.
        13             177. Plaintiffs have no adequate remedy at law and will suffer serious and
        14    irreparable harm to their constitutional rights unless Defendants are enjoined from
        15    implementing and enforcing the Orders.
        16             178. Plaintiffs have found it necessary to engage the services of private counsel
        17    to vindicate their rights under the law. Plaintiffs are therefore entitled to an award of
        18    attorney fees and costs pursuant to California Code of Civil Procedure Section 1021.5.
        19                                     ELEVENTH CLAIM FOR RELIEF
        20                                  Free Exercise and Enjoyment of Religion
        21                                              (Cal. Const. Art. 1, § 4)
        22                                    (By all Plaintiffs against all Defendants)
        23             179. Plaintiffs incorporate by reference the allegations in the preceding
        24    paragraphs, as if fully set forth herein.
        25             180. In California “[f]ree exercise and enjoyment of religion without
        26    discrimination or preference are guaranteed.” Cal. Const. Art. 1, §4.
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              Verified Complaint                                                                  Case No.
DocuSign Envelope ID: 8A5D3F55-713E-4B03-BA18-82A0F2BFF69A
                Case 5:20-cv-00755 Document 1 Filed 04/13/20 Page 34 of 36 Page ID #:34




         1             181. “In general, the religion clauses of the California Constitution are read
         2    more broadly than their counterparts in the federal Constitution.” Carpenter v. City and
         3    County of San Francisco, 93 F.3d 627, 629 (9th Cir. 1996).
         4             182. For the reasons stated in Plaintiffs’ First Claim for Relief, requiring
         5    Plaintiffs to abstain from its religious gatherings, despite substantial modifications to
         6    satisfy the public health interests at stake, violates Plaintiffs’ free exercise rights under
         7    the California Constitution as well.
         8             183. Plaintiffs have no adequate remedy at law and will suffer serious and
         9    irreparable harm to their constitutional rights unless Defendants are enjoined from
        10    implementing and enforcing the Orders.
        11             184. Plaintiffs have found it necessary to engage the services of private counsel
        12    to vindicate their rights under the law. Plaintiffs are therefore entitled to an award of
        13    attorney fees and costs pursuant to California Code of Civil Procedure Section 1021.5.
        14             WHEREFORE, Plaintiffs respectfully request that this Court enter judgment
        15    against Defendants as follows:
        16             A.      An order and judgment declaring that the Orders, facially and as-applied to
        17    Plaintiffs, violate the First and Fourteenth Amendments to the U.S. Constitution and
        18    Article 1, Sections 1, 2, and 4 of the California Constitution;
        19             B.      An order temporarily, preliminarily, and permanently enjoining and
        20    prohibiting Defendants from enforcing the Orders;
        21             C.      For attorneys’ fees and costs;
        22             D.      Such other and further relief as the Court deems appropriate and just.
        23
        24    Date: April 13, 2020                              DHILLON LAW GROUP INC.
        25
                                                             By: /s/ Harmeet K. Dhillon
        26                                                       HARMEET K. DHILLON (SBN: 207873)
        27                                                       harmeet@dhillonlaw.com
                                                                 MARK P. MEUSER (SBN: 231335)
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              Verified Complaint                                                                  Case No.
DocuSign Envelope ID: 8A5D3F55-713E-4B03-BA18-82A0F2BFF69A
                Case 5:20-cv-00755 Document 1 Filed 04/13/20 Page 35 of 36 Page ID #:35




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         5
         6                                                   Attorneys for Plaintiffs

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              Verified Complaint                                                          Case No.
DocuSign Envelope ID: 8A5D3F55-713E-4B03-BA18-82A0F2BFF69A
                Case 5:20-cv-00755 Document 1 Filed 04/13/20 Page 36 of 36 Page ID #:36




         1                                     VERIFICATION OF COMPLAINT
         2                      I, the undersigned, declare as follows:
         3             1.       I am a plaintiff in this matter.
         4             2.       I have read the foregoing complaint and know the contents thereof.
         5             3.       The same is true of my own knowledge, except as to those matters which
         6    are therein state on information and belief, and, as to those matters, I believe it to be
         7    true.
         8             I declare under penalty of perjury under the laws of the United States of America
         9    that the foregoing is true and correct.
        10
        11    Date:         4/13/2020


        12                                                          Wendy Gish
        13
        14    Date:         4/13/2020

        15                                                          Patrick Scales
        16
        17               4/13/2020
              Date:
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                                                                    James Dean Moffatt
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        20               4/13/2020
              Date:
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                                                                    Brenda Wood
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                                                                   36
              Verified Complaint                                                                 Case No.
